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 8                          UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
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11   FIVES INVESTMENTS, LLC,                         Case No.: 23-cv-2045-DMS
12                             Plaintiff,
                                                     NOTICE AND ORDER SETTING
13   v.                                              EARLY NEUTRAL EVALUATION
                                                     CONFERENCE IN A PATENT
14   NANOLEAF CANADA LIMITED, a
                                                     CASE; RULE 26 COMPLIANCE;
     Canadian company,
15                                                   AND CASE MANAGEMENT
                       Defendant.
                                                     CONFERENCE
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20         IT IS ORDERED that an Early Neutral Evaluation (“ENE”) of your case will be
21   held on March 21, 2024 at 2:00 p.m. in the Chambers of Magistrate Judge Karen S.
22   Crawford, United States District Court, 333 West Broadway, Suite 1010, San Diego,
23   California 92101. In the event the case does not settle at the ENE Conference, a Case
24   Management Conference (“CMC”) pursuant to Fed. R. Civ. P. 16(b) will be held
25   immediately following the conclusion of the ENE Conference.
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 1          The following are mandatory guidelines for the parties preparing for the ENE and
 2   CMC. Absent express permission obtained from this Court, and notwithstanding the
 3   pendency of any motion, counsel shall timely comply with the dates and deadlines
 4   herein.
 5          1.     Review of Chambers Rules: Counsel1 shall refer to the Chambers Rules of
 6   undersigned Magistrate Judge, the Chambers Rules of the assigned District Judge, and
 7   the Patent Local Rules, which are all accessible via the Court’s website at
 8   www.casd.uscourts.gov.
 9          2.     Purpose of the ENE Conference: The purpose of the ENE Conference is
10   to permit an informal discussion between the attorneys, parties, and the Magistrate Judge
11   of every aspect of the lawsuit in an effort to achieve an early resolution of the case. All
12   ENE Conference discussions will be informal, off the record, privileged and confidential.
13   Counsel for any non-English speaking party is responsible for arranging for the
14   appearance of an interpreter at the conference.
15          3.     Personal Appearance of Parties Is Required: Pursuant to Local Rule
16   16.1(c), all parties (including those indemnified by others), claims adjusters for insured
17   defendants, the principal attorney(s) responsible for the litigation, and non-lawyer
18   representatives with full and unlimited authority to negotiate and enter into a binding
19   settlement must be present and legally and factually prepared to discuss and resolve the
20   case at the ENE Conference. If each of the principal attorneys responsible for the
21   litigation is not listed on the docket as an “ATTORNEY TO BE NOTICED,” they each
22   shall enter their appearance on the docket as soon as practicable and prior to the ENE
23   Conference.
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      As used herein, references to “counsel” or “attorney(s)” include any party representing himself or
     herself.
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 1          Unless there are exceptional circumstances, persons required to attend the ENE
 2   Conference pursuant to this Order shall not be excused from personal attendance.
 3   Counsel should refer to the undersigned’s Chambers Rules for the Court’s requirements
 4   for making a request to excuse a required person’s attendance for exceptional
 5   circumstances. Any such request shall be made at least ten (10) calendar days prior to
 6   the ENE Conference. Failure to appear at the ENE Conference will be grounds for
 7   sanctions.
 8          Counsel appearing without their clients (whether or not counsel has been given
 9   settlement authority) will be cause for immediate imposition of sanctions and will also
10   result in the immediate termination of the conference.
11          4.      Full Settlement Authority Is Required: In addition to attendance by the
12   principal attorney(s), a party or party representative with full and complete settlement
13   authority must be present for the ENE Conference.2 In the case of a corporate entity, an
14   authorized representative of the corporation who is not retained outside counsel must be
15   present and must have discretionary authority to commit the company to pay an amount
16   up to the amount of the plaintiff’s prayer (excluding punitive damage prayers). The
17   purpose of this requirement is to have representatives present who can settle the case
18   during the course of the conference without consulting a superior.
19          5.      Confidential ENE Statements Required: No later than seven (7) days
20   before the ENE, the parties shall submit confidential statements of five pages or less
21   directly to the chambers of Magistrate Judge Crawford. All confidential ENE statements
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       Full authority to settle means that the individuals at the ENE Conference are authorized to fully
25   explore settlement options and to agree at that time to any settlement terms acceptable to the parties.
     Heileman Brewing Co., Inc. v. Joseph Oat Corp., 871 F.2d 648, 653 (7th Cir. 1989). The person needs
26   to have “unfettered discretion and authority” to change the settlement position of a party. Pitman v.
     Brinker Int’l, Inc., 216 F.R.D. 481, 485-486 (D. Ariz. 2003). One of the purposes of requiring a person
27   with unlimited settlement authority to attend the conference is that the person’s view of the case may be
     altered during the face-to-face conference. Pitman, 216 F.R.D. at 486. Limited or sum certain authority
28   is not adequate. Nick v. Morgan’s Foods, Inc., 270 F.3d 590, 595-597 (8th Cir. 2001).

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 1   must include (1) a brief description of the case and the claims asserted; (2) the party's
 2   position on liability and damages with controlling legal authority; (3) a specific and
 3   current demand for settlement addressing all relief or remedies sought, as well as the
 4   specific basis for each type of relief (if a specific demand for settlement cannot be made
 5   at the time the settlement statement is submitted, state the reasons why and explain when
 6   the party will be in a position to state a settlement demand); and, (4) a brief description of
 7   any previous settlement negotiations or mediation efforts. A general statement that a
 8   party will “negotiate in good faith,” “offer a nominal cash sum,” or “be prepared to make
 9   an offer at the conference” is not a specific demand or offer. The statement shall also list
10   all attorney and non-attorney conference attendees for that side, including the name(s)
11   and title(s)/position(s) of the party/party representative(s) who will attend and have
12   settlement authority at the conference.
13         These statements shall not be filed or served on opposing counsel. They can be
14   lodged via email at efile_crawford@casd.uscourts.gov. If the total submission amounts
15   to more than 20 pages including exhibits, a hard copy must be delivered directly to
16   chambers.
17         6.     Cases Involving a Demand for Attorney Fees: If a demand is made that
18   includes attorney’s fees and/or costs, counsel for the demanding party shall bring
19   redacted billing records for opposing counsel’s review, as well as an unredacted copy for
20   the Court’s in camera review.
21         7.     Case Management: In the event the case does not settle at the ENE
22   Conference, the Court will immediately proceed with the CMC. The parties are,
23   therefore, ordered to comply with Chambers Rules and Fed. R. Civ. P. 26 and proceed
24   with the initial disclosure process in advance of the CMC as follows:
25                   a. As required by Patent Local Rule 2.1, the Rule 26(f) conference shall
26                       be completed on or before February 29, 2024. Thereafter, counsel
27                       for plaintiff shall promptly prepare an initial draft of the parties’ Joint
28                       Discovery Plan and provide the same to opposing counsel for

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 1                       comment and contribution. The Joint Discovery Plan must be one
 2                       document and must explicitly address all topics identified in the
 3                       Chambers Rules of the undersigned Magistrate Judge; Fed. R. Civ. P.
 4                       26(f)(3); and Patent Local Rule 2.1(b). The parties should also consult
 5                       the assigned District Judge’s Civil Chambers Rules in drafting their
 6                       Joint Discovery Plan.
 7                   b. The date of initial disclosure pursuant to Rule 26(a)(1)(A-D) shall
 8                       occur on or before March 14, 2024;
 9                   c. The Joint Discovery Plan shall be filed on the CM/ECF system and
10                       lodged by email to efile_crawford@casd.uscourts.gov, on or before
11                       March 14, 2024. A courtesy paper copy of the Joint Discovery Plan
12                       shall be delivered to Judge Crawford’s Chambers if it exceeds 20
13                       pages.
14         8.     Requests to Continue an ENE Conference: Patent Local Rule 2.1(a)
15   requires that an ENE Conference take place within 60 days of a defendant making a first
16   appearance in the case. Any request to continue an ENE Conference shall be made by
17   Joint Motion, even if the parties are not in agreement, no less than seven (7) calendar
18   days before the affected date. The request shall state:
19                   a. The original deadline or date;
20                   b. The number of previous requests for continuance;
21                   c. A showing of good cause for the request;
22                   d. Whether the request is opposed and why; and,
23                   e. Whether the requested continuance will affect other case management
24                       dates.
25         9.     Settlement Prior to ENE Conference: The Court encourages the parties to
26   work on settling the matter in advance of the ENE Conference. If the parties resolve the
27   matter prior to the day of the ENE Conference, counsel must promptly file a Joint Motion
28   for Dismissal or a Notice of Settlement and call chambers to advise of the settlement.

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 1         10.    New Parties Must Be Notified by Plaintiff’s Counsel: Plaintiff's counsel
 2   shall give notice of the ENE and CMC and provide a copy of this Order to parties
 3   responding to the complaint after the date of this notice.
 4         Questions regarding this case or the mandatory guidelines set forth herein may be
 5   directed to the Magistrate Judge's law clerks at (619) 446-3964.
 6         A Notice of Right to Consent to Trial Before a United States Magistrate Judge is
 7   attached for your information.
 8   Dated: February 9, 2024
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 1                   NOTICE OF RIGHT TO CONSENT TO TRIAL
 2                BEFORE A UNITED STATES MAGISTRATE JUDGE
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 4         IN ACCORDANCE WITH THE PROVISIONS OF 28 U.S.C. § 636(c), YOU
 5   ARE HEREBY NOTIFIED THAT A U.S. MAGISTRATE JUDGE OF THIS DISTRICT
 6   MAY, UPON THE CONSENT OF ALL PARTIES, ON FORM 1A AVAILABLE IN
 7   THE CLERK'S OFFICE, CONDUCT ANY OR ALL PROCEEDINGS, INCLUDING A
 8   JURY OR NON-JURY TRIAL, AND ORDER THE ENTRY OF A FINAL
 9   JUDGMENT. COUNSEL FOR THE PLAINTIFF SHALL BE RESPONSIBLE FOR
10   OBTAINING THE CONSENT OF ALL PARTIES, SHOULD THEY DESIRE TO
11   CONSENT.
12         YOU SHOULD BE AWARE THAT YOUR DECISION TO CONSENT OR NOT
13   TO CONSENT IS ENTIRELY VOLUNTARY. ONLY IF ALL PARTIES CONSENT
14   WILL THE JUDGE OR MAGISTRATE JUDGE TO WHOM THE CASE HAS BEEN
15   ASSIGNED BE INFORMED OF YOUR DECISION.
16         JUDGMENTS OF THE U.S. MAGISTRATE JUDGES ARE APPEALABLE TO
17   THE U.S. COURT OF APPEALS IN ACCORDANCE WITH THIS STATUTE AND
18   THE FEDERAL RULES OF APPELLATE PROCEDURE.
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